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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )               Case No. 2:13-cr-00273-JAD-CWH
                                               )
 9   vs.                                       )               ORDER
                                               )
10   GUSTAVO REYES-SALINAS, and                )
     FRANCISCO COTA-GOMEZ,                     )
11                                             )
                       Defendants.             )
12   __________________________________________)
13          This matter is before the Court on Defendant Francisco Cota-Gomez’ Motions for Joinder
14   (#39) and (#40), filed April 22, 2014. Cota-Gomez seeks to join the motion to suppress (#37) and
15   (#38) filed by co-Defendant Gustavo Reyes-Salinas. The undersigned has reviewed the motions
16   and will grant the requested joinders. Accordingly,
17          IT IS HEREBY ORDERED that Defendant Francisco Cota-Gomez’ Motions for Joinder
18   (#39) and (#40) are granted.
19          DATED: April 22, 2014.
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                                                 ______________________________________
22                                               C.W. Hoffman, Jr.
                                                 United States Magistrate Judge
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